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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

MANUEL A. BENAVIDEZ,
Plaintiff
Vv.

THE CITY OF IRVING, TEXAS and
HERBERT A. GEARS, THOMAS D.
SPINK, ELIZABETH (BETH) VAN
DUYNE, ALLAN E. MEAGHER, LEWIS
PATRICK, ROSE CANNADAY, RICK
STOPPER, SAM SMITH, and JOE
PHILIPP, in their official capacities,

Defendants

CIVIL ACTION NO. 3:07 CV 1850-P

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DEFENDANTS' BRIEF IN SUPPORT OF

MOTION FOR SUMMARY JUDGMENT

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

MANUEL A. BENAVIDEZ,
Plaintiff
Y.

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HERBERT A. GEARS, THOMAS D.
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CIVIL ACTION NO. 3:07 CV 1850-P

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Defendants

DEFENDANTS' BRIEF IN SUPPORT OF
MOTION FOR SUMMARY JUDGMENT

SUMMARY

To establish standing, a plaintiff bringing a challenge to the use of an at-large election
system must show (1) that he has sustained an injury in fact, (2) that there is a causal connection
between the use of the at-large system and the plaintiff's injury, and (3) that the injury will be
redressed by a favorable decision. The causal link between the alleged dilution of the plaintiff’s
vote and the use of the at-large system is established by showing that it is possible to create at
least one district in a single-member-district plan where the group of which the plaintiff is a
member—ain this case, Hispanics—constitutes a majority of the citizen-voting-age population.
Even if a Hispanic citizen-voting-age population district could be created, it would not
encompass the plaintiff's residence, which is roughly two miles from the area of Hispanic

concentration. The use of an at-large system does not harm this individual plaintiff, and any
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relief granted in this case would not provide any redress to him. As a result, the plaintiff cannot
meet any of the elements of the standing test. He is, at most, a “concerned bystander” and does
not have standing to bring the suit.

I. The plaintiff must show that he is personally injured by the use of the at-large
election system if he is to establish standing to bring the suit.

As a matter of federal constitutional law, the plaintiff may not maintain a suit in federal
court unless he or she can establish (1) that he has sustained an "injury in fact," (2) that there is a
causal connection between the injury and the conduct complained of, and (3) that it is likely the
injury will be redressed by a favorable decision. E.g., Lujan v. Defenders of Wildlife, 504 U.S.
555, 112 8.Ct. 2130, 2136 (1992). Further, the injury must be to the individual seeking to
invoke the court’s jurisdiction—in this case to Mr. Benavides. Lujan, 112 S.Ct. at 2137 (“injury
in fact test requires that the party seeking review be himself among the injured”), This
requirement of personal injury prevents the federal courts from becoming “a vehicle for the
vindication of the value interests of concerned bystanders.” Valley Forge Christian College v.
Americans United for Separation of Church and State, Inc., 454 U.S. 464, 473 (1982) (quoting
United States v. SCRAP, 412 US. 669, 687, 93 S.Ct. 2405, 2416 (1973)).

The case before this court stands apart from the typical challenge to an at-large election
system because the plaintiff does not reside in or near the area of concentrated minority
population where any predominantly Hispanic single-member district would have to be located.
As a result, he simply does not meet the minimal requirements of standing imposed by the
Constitution. Mr. Benavides’ basic problem in this case is at least two-fold. First, he is unable

to establish any causal link between the use of an at-large election system and the alleged
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dilution of his vote. Second, the relief he seeks'—the use of a single-member district election
system—would not address any vote dilution that Ae may have suffered.

I. The Supreme Court has established a test to determine if the use of the at-large
system results in injury.

The starting point of any review of a challenge to an at-large election system must be
Thornburg v. Gingles, 478 U.S. 30, 106 S.Ct. 2752 (1986)—a case that is especially relevant in
the context of the second prong of Lujan since it is based almost entirely on an analysis of
whether the use of an at-large election system bears a causal relationship to alleged vote dilution.
In Gingles, the Supreme Court teaches that a plaintiff bringing a section 2 challenge to an at-
large election system must establish a causal connection between the use of the at-large system
and the alleged dilution of the plaintiffs vote. The Gingles Court establishes a three-part test
designed to determine whether that causal relationship exists. For the purpose of this motion, the
critical prong of the three-part Gingles test is the first one—i.e., whether the minority group is
sufficiently large and geographically compact so as to constitute a majority in a single-member
district. As the Supreme Court explained:

The reason that a minority group making such a challenge must show, as a
threshold matter, that it is sufficiently large and geographically compact to

constitute a majority in a single-member district is this: Unless minority voters

possess the potential to elect representatives in the absence of the challenged

structure or practice, they cannot claim to have been injured by that structure or
practice .... As two commentators have explained: To demonstrate [that

Although the Plaintiff's First Amended Complaint contains a general prayer for relief

(“Ordering Irving to devise an election plan . . . that remedies the violation of Section 2”), First
Amended Complaint [Doc. 5] VII(2), it is clear that the only relief he seeks is implementation of
a single-member district system. See First Amended Complaint, J 23 (“Unless this Court directs
the City to design a single member electoral system, the current discriminatory Electoral System
will continue.”); Joint Report on Status of Settlement Negotiations [Doc. 25] at 2 (“Plaintiff
seeks an electoral system in which each member of the Irving City Council is elected from a
single-member district, while the Irving mayor is elected at-large.”).

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minority voters are injured by at-large elections}, the minority voters must be
sufficiently concentrated and politically cohesive that a putative districting plan
would result in districts in which members of a racial minority would constitute a
majority of the voters, whose clear electoral choices are in fact defeated by at-
large voting. If minority voters’ residences are substantially integrated
throughout the jurisdiction, the at-large district cannot be blamed for the defeat of
munority-supported candidates .. . .

Gingles, 478 U.S. at 50 n.17 [quoting James D. Blacksher & Larry T. Menefee, From Reynolds

v. Sims to City of Mobile v. Bolden: Have the White Suburbs Commandeered the Fifteenth

Amendment?, 34 Hastings L.J. 1 (1982)] (emphasis and brackets supplied by the Supreme
Court); see also Salas v. Southwest Texas Junior College District, 964 F.2d 1542, 1554 (5th Cir,
1992) (Gingles inquiry is one of causation—i.e., whether the challenged electoral practice is
responsible for plaintiffs’ inability to elect their preferred representatives); accord W. Carpeneti,
“Legislative Apportionment: Multimember Districts and Fair Representation,” 120 U. Pa.L.
REV. 666, 696 (1972) (the “requirement [that there be a cognizable racial group that is
sufficiently large to elect a representative in a single member district allocation of seats] limits
the ranks of potential plaintiffs to those who have been actually harmed by the multimember

district plan”).

The Carpeneti article is perhaps of more than usual significance as it is one of the

primary sources relied on by the Supreme Court in formulating the three-part Gingles test.
Carpeneti, who was cited at least four times in Gingles with three of the citations to the specific
page quoted in the text above, appears to have provided the initial formulation of the first prong
of the Gingles test. Thus, from the very beginning, the requirement of showing the existence of
a geographically compact minority group was perceived of in terms of confirming the existence
of the personal injury necessary to establish standing.

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Ill. The plaintiff does not reside in the area of concentrated Hispanic population and,
thus, does not meet the Supreme Court test for standing in a challenge to an at-large
election system.

Under Gingles, one cannot establish a causal relationship between the use of an at-large
system and alleged vote dilution unless there is a sufficiently large and geographically insular
group of members of the protected class. In the Fifth Circuit this means that the group must
constitute a majority of the citizen-voting-age population in a potential district. Campos v. City
of Houston, 113 F.3d 544, 548 (5" Cir. 1997); see also, Valdespino v. Alamo Heights Ind. Sch.
Dist., 168 F.3d 848, 853 (S" Cir. 1999) (“this court has already determined what factors limit the
relevant population in the district [when analyzing the first Gingles factor]: voting-age and
citizenship”); Perez v. Pasadena Ind. Sch. Dist., 165 F.3d 368, 372 (5" Cir. 1999) (“We have
unequivocally held, however, that courts ‘must consider the citizen voting-age population of the
group challenging the electoral practice when determining whether the minority group is
sufficiently large and geographically compact to constitute a majority.’ . .. such a result is
required by the plain language of Section 2.”).

For the purpose of this summary judgment motion, the City of Irving is willing to assume
that a district with a majority of Hispanic voting-age citizens could be created in an eight-single-

member-district plan for the City of Irving? That district, however, must necessarily be in

; In the Gingles analysis, the court is to determine if a minority district could be drawn in a

plan where the number of single-member districts is equal to the total number of council seats in
the existing system. Holder v. Hall, 512 U.S. 874 (1994) (plurality); Concerned Citizens for
Equality v. McDonald, 63 F.3d 413, 417 (5" Cir. 1995). In Irving, there are eight council
positions. Thus, the plaintiff must show that a Hispanic citizen-voting-age-population majority
district can be drawn as part of an eight-district plan. While the city is willing to assume, solely
for the purpose of this motion, that it is possible to draw a geographically compact, Hispanic
citizen-voting-age-population majority district in an eight district plan, in fact, the city
vigorously contests the plaintiff's contention that such a district can be drawn.

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eastern Irving just south of Highway 183. Once one looks beyond that general area, there is
simply no sufficiently concentrated area of Hispanic citizens that would produce a Hispanic-
majority district.

The plaintiff resides at 2108 Meadow Glen—an address near the southernmost boundary
of the city. Plaintiff's First Amended Complaint [Doc. 5] part I.A; App. 5, 9. Thus far in the
litigation, the plaintiffs expert has produced five variations on a district that he claims has a
Hispanic citizen-voting-age population majority. App. 5, 10. Depending on which of those five
variations one chooses, the plaintiff's residence is between 1.5 and 2.2 miles from the nearest
point of the putative district. App. 6, 12. Even if one of the proposed districts were stretched by
the two miles or so necessary to reach Mr. Benavidez’s residence, the district could not maintain
its purported Hispanic citizen-voting age population majority. The area in which Mr. Benavides
resides is largely non-Hispanic. App. 5-6, 9, 12. There are no majority Hispanic citizen-voting-
age population blocks between Mr. Benavides’ residence and any of the variations of the district
presented by the plaintiff. App. 12. In fact, an examination of the map found at page 12 of the
Appendix shows that there are only five blocks south of the plaintiff's proposed district that have
as much as 40 percent Hispanic citizen-voting-age population. Instead, the area between the
plaintiff's residence and the potential district is composed almost entirely of blocks where
Hispanics represent less than twenty percent of the block’s citizen-voting-age population. Jd.
Thus, if the district were reconfigured to reach the Benavides residence, it would be necessary to
add biocks where the Hispanic citizen-voting-age population is very low and, in order to keep
the district at a permissible size for one person—one vote purposes, to subtract blocks with
relatively high percentages of Hispanic citizens. App. 6, 12. Even if it were possible to maintain

a Hispanic citizen-voting-age population by extending a narrow two-mile long tentacle from the

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main body of the district to Mr. Benavides’ residence—and there is little likelihood that would be
possible--the district would not meet the Gingles requirement of compactness. League of United
Latin American Citizens v. Perry, 548 U.S. 399, 433 (2006) (“A district that ‘reaches out to grab
small and apparently isolated minority communities’ is not reasonably compact,” quoting Bush
v. Vera, 317 U.S. 952, 977 (1996)). Given the hard demographic facts, it simply “is not possible
to draw a geographically compact, Hispanic citizen-voting-age population majority, city council
district . . . that contains the plaintiffs residence.” App. 6.

This is not a conclusion that is a matter of dispute. Dr. Rives, the city’s expert, draws
that conclusion in his affidavit, App. at 4-6, and Mr. Ely, the plaintiff's demographic expert,
agrees. When asked in his deposition if it was virtually impossible to draw a 50 percent district
that would include the plaintiff's residence, he answered “I - - probably, yes.” App. 23. He also
characterized the possibility of drawing a Hispanic majority district that would include the
plaintiff's residence as “very unlikely.” /d. The experts for both parties recognize that the
plaintiff's residence falls outside the boundaries of any potential Hispanic citizen-voting-age
population majority district.

While individuals who reside in the area of minority concentration may well have
standing to claim that the at-large system dilutes their vote, individuals, such as the plaintiff
here, who reside outside that area, do not. As Gingles teaches, if Mr. Benavides experienced
dilution, the cause is not the use of the at-large system. Rather than one who has experienced an
actual injury that is directly caused by the use of the at-large system, he is—in the words of the
Supreme Court in Valley Forge Christian College—a “concemed bystander.” A person who is
willmg to seek societal change because of the concern he has as a bystander plays a valuable

public policy role; he does not, however, have standing to invoke the jurisdiction of the federal

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courts to challenge a system that does not directly affect him. His remedy is through the
political process rather than through the courts.

IV. Courts have routinely recognized that standing in voting rights cases is tied to the
plaintiffs residence.

The requirement that a voting rights plaintiff be able to demonstrate standing in the same
manner as any other litigant is not anew one. In Whitcomb v. Chavis, 403 U.S. 124 (1971), the
first at-large/vote dilution case considered by the United States Supreme Court, the trial court
found that plaintiffs who lived within the area of minority concentration had standing to
challenge the use of the at-large system while persons who lived outside that area did not. 403
US. at 137.17. Similarly, in De Grandy v. Wetherell, 815 F. Supp. 1550, 1560 n.14 (N.D. Fla.
1992) (3-judge court), aff'd in part and rev'd in part sub nom., Johnson v. De Grandy, 512 U.S.
997 (1994), which was a challenge to a state-wide redistricting of the Florida House of
Representatives, the court determined that a plaintiff residing in the Miami area had no standing
to question the boundaries of districts in the Pensacola area. In Fairley v. Patterson, 493 F.2d
598, 603-04 (5th Cir. 1974), a Fourteenth Amendment case raising a one person—one vote claim,
the Fifth Circuit held that a voter who resided in an overrepresented district—that is, a district
with less population than a district of the ideal size—had no standing to bring a one person/one
vote case. See also Wright v. Dougherty County, Georgia, 358 F.3d 1352, 1355-56 (11th Cir.
2004) (relying on precedent from the “old Fifth Circuit’).

While most standing issues in voting rights cases are decided in the lower courts and
often do not present an issue on appeal because the cases frequently have multiple plaintiffs at
least one of whom does have standing, a 1995 U.S. Supreme Court case squarely presented a

voting rights standing question. United States v. Hays presented a Fourteenth Amendment,
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racial gerrymandering challenge to Louisiana congressional districts. 515 U.S. 737 (1995). The
lower court determined that the plaintiffs had standing, but the Supreme Court disagreed and
ordered the case dismissed. While Hays arose under the Fourteenth Amendment rather than
section 2 of the Voting Rights Act, the standing principles are the same. Persons who resided
within the district alleged to be a racial gerrymander had standing, while persons residing outside
the district did not. Hays, 515 U.S. at 745. See also Bush v. Vera, 517 U.S. 952, 957-58 (1996);
Shaw v. Hunt, 517 U.S. 899, 904 (1996).

Shortly after the Supreme Court issued its opinion in Hays, a court in the Western
District of Texas faced the precise issue presented in this case. The plaintiff raising a section 2
challenge to an at-large election system resided outside the area of minority concentration so that
any single-member district that potentially would have a Hispanic citizen-voting-age population
majority would not contain the plaintiff's residence. The court determined that the Hays
standard applied and dismissed the case for lack of standing. Valdespino v. Alamo Heights Ind.
Sch. Dist., No. SA-94-CA-688 (Sept 1, 1995), aff'd, 105 F.3d 653 (table), No. 95-50719 (5" Cir.
Dec. 12, 1996). See also Hall v. Virginia, 276 F. Supp.2d 528, 531 (E.D. Va. 2003), aff'd on
other grounds, 385 F.3d 421 (4" Cir. 2004) (holding Hays concept of residential standing applies
to section 2 challenges just as it does to equal protection claims). Although the unpublished
Fifth Circuit opinion in Valdespino was decided after January 1, 1996, and is not precedent, Fifth

Circuit Local Rule 47.5.4, it is persuasive and correctly states the law.

4 Copies of the district court and Fifth Circuit unpublished opinions are found in the

Appendix at pages 31-43.
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CONCLUSION

The Constitution requires that persons invoking the jurisdiction of the federal court be
able to demonstrate that (1) they have personally suffered an injury, (2) the injury is caused by
the governmental action that they challenge, and (3) the injury is subject to being redressed by a
favorable decision. The plaintiffs here simply cannot meet that test. Under the teaching of the
Supreme Court in Gingles, at-large systems are not dilutive unless there is an area of minority
population concentration and then are dilutive only to those minority group members who reside
there. Since the plaintiff resides far from the area of minority concentration, he does not suffer
an injury that can be said to have been caused by the use of the challenged election system and,
thus, he does not have standing to bring this action. The court should accordingly dismiss the

cause.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

[hereby certify that a true and correct copy of the foregoing document was served on the
following via electronic transmission and United States mail, certified, return receipt requested, on
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